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                          UNITED STATES DISTRICT COURT
                                       DISTRICT OF HAWAII
                                      OFFICE OF THE CLERK
                                 300 ALA MOANA BLVD., RM C-338
                                    HONOLULU, HAWAII 96850
SUE BEITIA                                                                    TEL (808) 541-1300
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                                   October 18, 2019

         Quintin-John D'Agirbaud, III
         A0265488- 1B2
         HALAWA CORRECTIONAL FACILITY
         99-902 Moanalua Rd
         Aiea, HI 96701


         FORM 2 - NOTICE OF APPOINTMENT
         Re: CV 18-00021JMS-WRP

         Pursuant to the court's order appointing pro
         bono representation in the above-referenced action, the
         Pro Bono Coordinator for the District of Hawai`i's
         Civil Litigation Pro Bono Panel ("Pro Bono Panel"),
         after having taken into consideration the experience
         and preferences of these attorneys regarding specific
         types of cases, selects the following attorney from the
         Pro Bono Panel and notifies the Clerk of the Court of
         this selection: Wendy F. Hanakahi, Dentons US LLP, 1001
         Bishop Street 18th Floor, Honolulu, HI 96813.

         The Federal Bar Association, Hawai`i Chapter
         Pro Bono Liaison for the Pro Bono Panel is hereby
         notified of the selection and is directed to contact
         the attorney to discuss the case and appointment as pro
         bono counsel. The attorney must, within ten (10) days
         of this notice, submit a letter to the presiding judge
         accepting or declining the appointment. If accepting
         the appointment, the attorney must confirm that no
         conflict of interest exists.

         A copy of the Notice of Appointment shall be
         mailed by the Clerk's Office to the pro se litigant at
         his or her last known address.


                                           Sue Beita, Clerk of Court

                                            Signed by:AG
